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  5   Attorneys for Movant
      Nissan Motor Acceptance Corporation
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  8                        UNITED STATES BANKRUPTCY COURT
  9                           FOR THE DISTRICT OF ARIZONA
 10   In re                                        Chapter 7
 11   DIANNA L PERKINS,                            Case No. 2:19-bk-08004-PS
 12                 Debtor.
 13

 14   NISSAN MOTOR ACCEPTANCE                      NOTICE OF MOTION FOR RELIEF
      CORPORATION,                                 FROM AUTOMATIC STAY
 15
                    Movant,                                      PROPERTY:
 16                                                          2019 Nissan Pathfinder
              vs.                                          VIN 5N1DR2MN5KC589004
 17
      DIANNA    L    PERKINS,   Debtor; Hearing: [TBD pursuant to LBR 4001-1(i)]
 18   and ROBERT A. MACKENZIE, Chapter 7
      Trustee,
 19
                    Respondents.
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 21           TO ALL INTERESTED PARTIES:

 22           PLEASE TAKE NOTICE that Nissan Motor Acceptance Corporation (“Movant”),

 23 by and through its undersigned counsel, filed its Motion for Relief from Automatic Stay

 24 (“Motion”) on July 31, 2019, wherein it seeks entry of an order terminating the automatic

 25 stay of 11 U.S.C § 362(a) as it applies to Movant (and any successors or assigns) and that

 26 certain     personal   property   described   as   a   2019   Nissan   Pathfinder,   VIN
 27 5N1DR2MN5KC589004.

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                      NOTICE OF MOTION FOR RELIEF FROM AUTOMATIC STAY
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  1         PLEASE TAKE FURTHER NOTICE that, pursuant to Local Bankruptcy
  2 Rules 4001-1 and 9013-1, within fourteen (14) days from the date of service of this Notice,

  3 any party opposing the Motion must serve a written opposition on Movant and file same with

  4 the above-captioned court at the following address:

  5                               United States Bankruptcy Court
                               District of Arizona - Phoenix Division
  6                                  230 N. First Ave, Suite 101
                                         Phoenix, AZ 85003
  7

  8         PLEASE TAKE FURTHER NOTICE that, if no timely opposition is filed and
  9 served within fourteen (14) days from the date of service of this Notice, the relief requested

 10 in the Motion may be granted without further notice or a hearing.

 11         DATED July 31, 2019.
 12                                             WRIGHT, FINLAY & ZAK, LLP
 13

 14                                            /s/ Joel F. Newell - 025296
                                               JOEL F. NEWELL
 15                                            Attorneys for Movant
                                               Nissan Motor Acceptance Corporation
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                      NOTICE OF MOTION FOR RELIEF FROM AUTOMATIC STAY
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